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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ROBERT J. MURPHY,

                         Appellant,
                                                                   CIVIL ACTION
         v.                                                        NO. 17-02496

MICHELLE MARINARI,

                         Debtor-in-Process.




                                  ORDER TO SHOW CAUSE

         AND NOW, this 16th day of July, 2018, it is hereby ORDERED that a Rule is

ISSUED for the Appellant, Robert J. Murphy, to show cause why the case should not

be dismissed for failure to prosecute. Appellant has until July 23, 2018 to submit to

the Court a status update to that effect. Failure to do so may result in dismissal of the

case.1

                                                       BY THE COURT:


                                                       /s/ Gerald J. Pappert
                                                       GERALD J. PAPPERT, J.




1       On July 5, 2017, the original bankruptcy record with the designation of record on appeal was
received and docketed in this Court. (ECF No. 2.) That same day, the Court set a briefing schedule
which indicated that the Appellant shall serve and file his brief within thirty days after entry of the
record on appeal. (ECF No. 4.) The Appellant has not filed a brief nor has the Appellant contacted
the Court for over a year.
